         Case 15-80009-jw                     Doc 1          Filed 01/30/15 Entered 01/30/15 16:27:59                             Desc Main
                                                              Document     Page 1 of 6
 B104 (FORM 104) (08/07)

         ADVERSARY PROCEEDING COVER SHEET                                                        ADVERSARY PROCEEDING NUMBER
                                                                                                 (Court Use Only)
                 (Instructions on Reverse)

PLAINTIFFS                                                                        DEFENDANTS
Robert F. Anderson, Chapter 7 Trustee for Karl Sitte                              Sabrina Sitte Rogers
Plumbing Co., Inc.

ATTORNEYS (Firm Name, Address, and Telephone No.)                                 ATTORNEYS (If Known)
Anderson & Associates, P.A.
208 Candi Lane, Suite B, Columbia, SC 29210

PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ Debtor    Ƒ U.S. Trustee/Bankruptcy Admin        Ƒ Debtor      Ƒ U.S. Trustee/Bankruptcy Admin
Ƒ Creditor  Ƒ Other                                Ƒ Creditor    Ƒ Other
                                                                 ✔
Ƒ Trustee
✔                                                  Ƒ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)




                                                                      NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


Ƒ                                                                                 Ƒ
    FRBP 7001(1) – Recovery of Money/Property                                     FRBP 7001(6) – Dischargeability (continued)
✔
Ƒ                                                                                 Ƒ
    11-Recovery of money/property - §542 turnover of property                        61-Dischargeability - §523(a)(5), domestic support


Ƒ                                                                                 Ƒ
    12-Recovery of money/property - §547 preference                                   68-Dischargeability - §523(a)(6), willful and malicious injury


Ƒ                                                                                 Ƒ
    13-Recovery of money/property - §548 fraudulent transfer                          63-Dischargeability - §523(a)(8), student loan
    14-Recovery of money/property - other                                             64-Dischargeability - §523(a)(15), divorce or separation obligation


                                                                                  Ƒ
                                                                                         (other than domestic support)

Ƒ
    FRBP 7001(2) – Validity, Priority or Extent of Lien                               65-Dischargeability - other
    21-Validity, priority or extent of lien or other interest in property


                                                                                  Ƒ
                                                                                  FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property
                                                                                  Ƒ
                                                                                     71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)             72-Injunctive relief – other


Ƒ
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                  Ƒ
                                                                                  FRBP 7001(8) Subordination of Claim or Interest
    41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                     81-Subordination of claim or interest


Ƒ
    FRBP 7001(5) – Revocation of Confirmation
                                                                                  Ƒ
                                                                                  FRBP 7001(9) Declaratory Judgment
    51-Revocation of confirmation
                                                                                     91-Declaratory judgment


Ƒ
    FRBP 7001(6) – Dischargeability
                                                                                  Ƒ
                                                                                  FRBP 7001(10) Determination of Removed Action

Ƒ
    66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims                  01-Determination of removed claim or cause
    62-Dischargeability - §523(a)(2), false pretenses, false representation,


Ƒ                                                                                 Ƒ
        actual fraud                                                              Other

                                                                                  Ƒ
    67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny       SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                       (continued next column)                                        02-Other (e.g. other actions that would have been brought in state court
                                                                                          if unrelated to bankruptcy case)
Ƒ Check if this case involves a substantive issue of state law                    Ƒ Check if this is asserted to be a class action under FRCP 23
Ƒ Check if a jury trial is demanded in complaint                                  Demand $
Other Relief Sought
       Case 15-80009-jw             Doc 1      Filed 01/30/15 Entered 01/30/15 16:27:59                        Desc Main
                                                Document     Page 2 of 6
 B104 (FORM 104) (08/07), Page 2

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR Karl Sitte Plumbing Co., Inc. BANKRUPTCY CASE NO. 14-04418-hb

DISTRICT IN WHICH CASE IS PENDING               DIVISION OFFICE                                          NAME OF JUDGE
South Carolina                                  Columbia                                                 Helen Elizabeth Burris
                            RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                             DEFENDANT                                                         ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)
/s/ Robert F. Anderson




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
January 30, 2015                                                       Robert F. Anderson




                                                        INSTRUCTIONS

           The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover
 Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case
 Filing system (CM/ECF). (CM/ECF captures the information on Form 104 as part of the filing process.) When completed,
 the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to
 process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
 Case 15-80009-jw         Doc 1    Filed 01/30/15 Entered 01/30/15 16:27:59            Desc Main
                                    Document     Page 3 of 6


                          UNITED STATES BANKRUPTCY COURT

                         FOR THE DISTRICT OF SOUTH CAROLINA


 IN RE:                                                        Case No. 14-04418-hb

 Karl Sitte Plumbing Co., Inc.,
                                                     Adversary Proceeding No. 15-8_______-hb
                                      Debtor.
 Robert F. Anderson, Chapter 7 Trustee
                                                                      Chapter 7
 for Karl Sitte Plumbing Co., Inc.,
                                     Plaintiff,                    COMPLAINT
                       vs.

 Sabrina Sitte Rogers,
                                      Defendant.

         Plaintiff, complaining of Defendant, alleges that:
                                             PARTIES
         1.     He is Chapter 7 Trustee for the Bankruptcy Estate of the above Debtor, duly
qualified and acting.
         2.     Defendant is a citizen and resident of the State of South Carolina and was the
Chief Executive Officer of the Debtor at the time of its filing of its Original Petition commencing
this Case.
                                         JURISDICTION
         3.     This is an Action brought under 11 U.S.C. § 542, for turnover of property of the
Debtor by the Defendant.
         4.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334 and 11 U.S.C.
§ 541.
         5.     This is a core proceeding under 28 U.S.C. §157.
                                   FACTUAL ALLEGATIONS
         6.     The Debtor filed its Original Petition for Relief under Chapter 7 of the
Bankruptcy Code on August 4, 2014 (“Petition Date”).
         7.     Defendant executed the Original Petition and the Schedules and Statements of
Affairs for the Debtor as its “owner.”
 Case 15-80009-jw         Doc 1     Filed 01/30/15 Entered 01/30/15 16:27:59           Desc Main
                                     Document     Page 4 of 6


        8.      Defendant was acting, at the time of the commencement of this Case, as the Chief
Executive Officer and Chief Operating Officer of the Debtor.
        9.      In addition, Defendant is acting as the Personal Representative of the Decedent
Estate of Karl Sitte, her father.
        10.     Karl Sitte was the sole shareholder of the Debtor prior to his death: his decedent
estate remains the sole shareholder of the Debtor.
        11.     In Schedule B of the Debtor’s Schedules and Statements of Affairs, filed for
record by the Debtor on August 28, 2014, the Debtor lists as assets of the Estate:
             a.   one 2005 4 door 8 cylinder Chevrolet Silverado 2500 Truck,
        S#1GCHK29U65E305379, with 110,000 miles, with a NADA value of $9,225;

             b.   one 1998 2 door 8 cylinder Ford F150 Truck,
        S#1FTZX18W1WNC03234,with 195,000 miles, with a NADA value of $1,725;

             c.   one 1999 (2) door, (8) cylinder Ford F250 Truck, VIN
        1FTNX20L3XEX28919, with 165,000 miles and with a NADA value of $2,425;

             d.   one 4 door, (8) cylinder 2003 Chevrolet Tahoe, VIN
        1GNEK13Z53J217579, with 132,000 miles and with a NADA value of $4,775; and

             e.   one 2 door (8) cylinder 2001 Chevrolet G2500 Van, VIN
        1GCGG25R21140241, with 165,000 miles and with a NADA value of $2,025.

        12.     Those vehicles (hereinafter jointly referred as to the “Assets”), according to the
Schedules and Statements of Affairs of the Debtor, were lien-free.
                                    FIRST CAUSE OF ACTION
        13.     Plaintiff realleges paragraphs 1 through 12 hereof.
        14.     Defendant executed the Original Petition, and the Schedules and Statements of
Affairs of the Debtor, under penalty of perjury.
        15.     Defendant is the “owner” of the Debtor.
        16.     The Assets are property of the Estate.
        17.     The Assets were not, and are not, located on the premises of the Debtor.
        18.     Defendant has stated that she knows the location and whereabouts of the Assets.
        19.     Others, related by marriage or blood to Defendant, state that Defendant is, or has
been in possession of the Assets.
 Case 15-80009-jw          Doc 1    Filed 01/30/15 Entered 01/30/15 16:27:59           Desc Main
                                     Document     Page 5 of 6


       20.     Plaintiff has demanded Defendant turnover the Assets to the Estate, but Defendant
has failed and refused to so do.
       21.     Plaintiff is informed and believes that this Court should look into the matters
herein set forth, and Order Defendant to turn over the Assets to the Estate at a place to be
designated by Plaintiff.
                                   SECOND CAUSE OF ACTION
       22.     Plaintiff realleges paragraphs 1 through 21 hereof.
       23.     Upon information and belief, Defendant has been utilizing the Assets since the
commencement of this Case.
       24.     The use of the Assets caused and continues to cause, depreciation to the value of
the Assets.
       25.     The Estate is entitled to the fair market rental of the Assets from the Petition Date,
until such time as the Assets are delivered to the Estate.
       26.     Upon information and belief, the monthly fair market rental of the Assets is 1/2 of
the aggregate NADA value of the Assets.
       27.     Plaintiff is informed and believes that the Court should look into the matters
herein set forth, determine the fair market rental on a monthly basis for the Assets and grant
judgment against Defendant for the amount of rental for the Assets from the Petition Date until
the surrender and delivery of the Assets to the Estate.
                                   THIRD CAUSE OF ACTION
       28.     Plaintiff realleges paragraphs one through 27 hereof.
       29.     In certifying the truthfulness of the Schedules and Statements of Affairs
Defendant filed on behalf of the Debtor, she indicated that the Assets had a fair market value of
$20,175.00.
       30.     Plaintiff, alternatively, demands judgment against Defendant in said amount, as
the admitted fair market value of the Assets that have been converted by Defendant and the fair
market rental for the Defendant’s use of the Assets to the detriment of the Estate.


       WHEREFORE Plaintiff prays that the Court look into the matters herein set forth;
determine the monthly fair market rental of the Assets; order Defendant turn over the Assets to
the Estate at a place to be designated by Plaintiff; grant judgment against Defendant for the total
 Case 15-80009-jw        Doc 1     Filed 01/30/15 Entered 01/30/15 16:27:59             Desc Main
                                    Document     Page 6 of 6


fair market rental of the Assets from the date of the filing of the Debtor’s Original Petition, until
the Assets are delivered to the Estate; grant judgment against Defendant in the amount of
$20.175.00, as the fair market value of the Assets in addition to the fair market rental value of
the Assets as set forth above; and grant unto Plaintiff such other and further relief as to the Court
seems just and proper.



                                                       ANDERSON & ASSOCIATES, P.A.


                                               By:     /s/Robert F. Anderson
                                                       Robert F. Anderson, Attorney for Trustee
Columbia, South Carolina                               District Court I.D. #1091
January 30, 2015                                       P.O. Box 76
                                                       Columbia, SC 29202
                                                       (803) 252-8600
                                                       bob@andersonlawfirm.net
